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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Case No: _________________________________________________

LINDSEY ADELMAN STUDIO, LLC, a
New York limited liability company, LINDSEY
ADELMAN, individually,

       Plaintiff,

vs.

ZORA Lighting Co., Ltd., a Chinese
business entity; Liang Tang, individually,
and John Does Nos. 1 - 5,

      Defendants.
_________________________________________________/

                                             COMPLAINT
       Plaintiffs, Lindsey Adelman Studio, LLC, and Lindsey Adelman, individually, hereby sue

Defendants, ZORA Lighting Co., Ltd., a Chinese business entity, Liang Tang, a Chinese citizen, and

John Does Nos. 1 - 5, and in support thereof, state as follows:

                                          INTRODUCTION

       1.      This action seeks a temporary restraining order, preliminary and permanent injunctive

relief, and damages arising from Defendants’ intentional infringement, copying, and passing off of

Plaintiffs’ renowned and highly acclaimed lighting design products and associated trademarks.

       2.      Plaintiffs own famous registered and unregistered trademarks for “Lindsey Adelman”,

“Lindsey Adelman Studio”, “Branching Bubble”, among others, and are the exclusive sellers and

distributors of Lindsey Adelman lighting designs, associated marks and indicators of origin.

       3.      Lindsey Adelman is a famous designer, specializing in modern lighting design

products. She has been widely recognized as a “tastemaker” in the field of interior and lighting design.

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Lindsey Adelman Studio sells Lindsey Adelman designed light fixtures, such as chandeliers, standing

lamps, desk lamps, hanging lamps, wall lamps and sconces.

        4.      Since 1996, Lindsey Adelman has specialized in elevated light design and haute culture

lighting products. Founded in 2006, Lindsey Adelman Studio has showroom locations in North

America, Europe and Asia, all devoted to the creation, sale and distribution of Lindsey Adelman

designed lighting.

        5.      Lindsey Adelman lighting creations have developed iconic status among the interior

design community and consuming public. Lindsey Adelman Studio collections are characterized by

industrial modular design elements influenced and inspired by nature. Adelman’s light fixtures have

been exhibited at famous art houses and design museums, including the Cooper-Hewitt National

Design Museum, Design Miami, Nilufar Gallery, Smithsonian Design Museum and BBDW Gallery,

among others.

        6.      The Lindsey Adelman Studio reached iconic status in 2006 soon after release of its

inaugural product, the Branching Bubble chandelier, which has become famous. The Branching

Bubble chandelier and other LINDSEY ADELMAN-branded products are instantly recognizable

among the relevant consuming public. The Branching Bubble chandelier combines the organic nature

of blown glass with other linear components to create a unique sculpted visual of branching cylinders

bubbling at end-points with blown glass lighting elements. This distinct design-product and integrated

marks has become a must-have item among a high-end segment of the consuming public.

        7.      Customers of the Branching Bubble chandelier include style and arts trend-setters and

A-list celebrities.   Branching Bubble products have been featured in many glossies and trade

publications, and have been recognized and displayed in leading art houses and design museums for

its lighting design aesthetic.

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       8.      Due to the acclaim and status that Lindsey Adelman designs have achieved, including

but not limited to the Branching Bubble chandelier, Defendants have embarked on a fraudulent and

dedicated campaign to counterfeit, trade upon, and misappropriate the goodwill and fame residing in

Plaintiffs’ trademarks and sought-after lighting designs.

       9.      Defendants falsely claim association with Plaintiffs’ products and designs,

representing that they offer authentic Lindsey Adelman Studio products, when in fact they sell only

cheap imitations and copies.

       10.     Defendants utilize LINDSEY ADELMAN trademarks, iconic designs, and authentic

images of Plaintiffs’ designs on their website, including the names of specific Lindsey Adelman

collections (e.g., Branching Bubbles, Agnes and Cherry Bomb), in their effort to deceive the public as

to the source of their products, suggest affiliation, sponsorship and common origin between their

copies and authentic LINDSEY ADELMAN STUDIO products.

       11.     Defendants source and sell cheaper copies of authentic Lindsey Adelman designs in an

effort to pass off their knock-offs as authentic products, intending for the public to believe that the

goods sold by Defendants are in fact authentic LINDSEY ADELMAN STUDIO-branded products.

       12.     Defendants aggressively seek to trade off of the invaluable goodwill cultivated by the

Lindsey Adelman Studio through its team’s countless hours of arduous design, labor, and investment

of resources. Evidence of Defendants’ intent to trade off of the goodwill exclusively residing in

Plaintiffs is seen in their use of Lindsey Adelman’s individual image on Defendants’ website, use of

photographs of genuine products published by Plaintiffs, and copying of Plaintiffs’ exact product

names and collections to drive Defendants’ sales of counterfeits. Defendants make no effort to

disguise their intent to pirate and usurp the intellectual property and goodwill residing in Lindsey

Adelman Studio and Lindsey Adelman, individually.

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       13.     Defendants’ conduct is causing confusion among the consuming public and third

parties who observe Defendants’ imitations unaware that the lower quality copies sold by Defendants

are not authentic Lindsey Adelman designed and sourced products. As a result of their willful

misconduct, Defendants are causing irreparable harm, damage and dilution to the intellectual property

rights owned by Plaintiffs, and the invaluable goodwill residing in Plaintiffs’ marks. Unless enjoined,

Defendants will continue their illegal predatory business practices of trading on Plaintiff’s protected

marks, while underselling Plaintiffs through inferior imitation products.

                                  JURISDICTION AND VENUE

       14.     This is an action for infringement under the trademark and unfair competition laws of

the United States (15 U.S.C. §§1114 and 1125), alleging infringement of Plaintiff’s trademarks,

protected trade dress, trademark dilution, common law unfair competition, and violations of New

York State law, as detailed below.

       15.     Jurisdiction is conferred on this Court by 15 U.S.C. 1121 and 28 U.S.C. 1338. This

Court has supplemental jurisdiction pursuant to 28 U.S.C. 1367 over all state law claims derived from

a common nucleus of operative fact. Venue is proper in this judicial district pursuant to 28 U.S.C.

1391(b).

       16.     Defendant Zora Lighting Co., Ltd. (“Zora Lighting”), a non-domestic foreign business

entity that upon information and belief is located in China, with a principal place of business in

Zhongshan City, Guangdong Province, China.

       17.     Zora Lighting owns and operates the website www.zoralighting.com, from which

Defendants, among other things, sell counterfeit copies of Plaintiffs’ lighting designs which

incorporate Plaintiffs’ trademarks and protected trade dress.




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       18.     Zora Lighting is conducting business in this judicial district, and has committed the

acts which are the subject of this action within this district. Zora Lighting engages in the solicitation

of business in the State of New York, upon information and belief derives revenue from products sold

in the State, and has committed the acts alleged herein which have caused (and continue to cause)

injury to Plaintiff within this district. In short, Zora Lighting’s acts confer in personam jurisdiction

over it within the State of New York.

       19.     Defendants, ZORA Lighting Co., Ltd., Liang Tang, and John Does Nos. 1 - 5 act in

some form of       partnership or unincorporated business association which operates through the

zoralighting.com domain name. The zoralighting.com domain name, and perhaps others operated by

defendants, are registered under proxy to shield their true identities. Defendants are comprised of

individuals and/or business entities of unknown composition, all of whom, upon information and

belief, reside in the People’s Republic of China. Defendants have the capacity to be sued pursuant to

Federal Rule of Civil Procedure 17(b).

       20.     Defendants conduct pervasive business throughout the United States, including within

this judicial district through the operation of fully interactive commercial websites existing under their

domain name(s), and social media promotions that link to Defendants’ website. Defendants are

directly and personally contributing to, inducing and engaging in the sale of counterfeit products as

alleged herein, often times as partners, co-conspirators and/or suppliers.

       21.     Plaintiffs are presently unaware of the true names of John Does 1 - 5, although they

are generally identified as the owners, operators, partners, managing agents and/or co-conspirators of

Defendant, Zora Lighting. Plaintiffs will amend this Complaint upon discovery of the identities of

such Defendants.



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        22.      Defendants are part of an ongoing conspiracy to create and maintain an illegal

marketplace enterprise on the world wide web, the purposes of which are to (i) confuse consumers

regarding the source of the Defendants’ goods for profit, and (ii) expand the marketplace for

counterfeit goods, diminishing the legitimate marketplace for genuine Lindsey Adelman goods. The

natural and intended byproduct of Defendants’ actions is the erosion and destruction of the overall

marketplace in which Plaintiffs operate and the goodwill associated with the Lindsey Adelman name

and associated trademarks.

        23.      The John Doe Defendants are the past and present controlling forces behind the

operation of the commercial Internet website operating under the zoralighting.com domain name and

perhaps others.

        24.      Upon information and belief, Defendants directly engage in unfair competition with

Plaintiffs by (i) offering for sale and selling counterfeit goods and infringements of Plaintiffs’

trademarks and indicators of source and origin to consumers within the United States and this judicial

district through fully interactive commercial websites operating under the zoralighting.com domain

name and others not yet known to Plaintiffs, and (ii) creating and maintaining an illegal marketplace

enterprise for the purpose of diverting business from Plaintiffs’ legitimate marketplace for its genuine

goods. Defendants have purposefully directed some portion of their illegal activities towards

consumers in this jurisdiction through advertisements, offers to sell (including on social media pages

such as Facebook, Instagram and Pinterest), and by operation of an illegal marketplace enterprise

which impacts and interferes with commerce throughout the United States, including within this

judicial district.

        25.      Defendants have engaged in deceptive conduct with respect to the registration of the

zoralighting.com domain by providing false and/or misleading information to their internet domain

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name registrar during the registration or maintenance process.              Upon information and belief,

Defendants have sought to anonymously register and have maintained the subject domain names for

the purpose of concealing their location and identity and concealing the true perpetrators of the illegal

counterfeiting another activities alleged herein. Defendants have also provided false information on

their website suggesting they operate out of Pennsylvania, when they do not.

       26.      Upon information and belief, Defendants will continue to register or acquire domain

names for the purpose of selling and/or offering for sale goods bearing counterfeit and confusingly

similar imitations of Plaintiffs’ trademarks, images, designs, and protected indicators of source unless

preliminarily and permanently enjoined. Moreover, upon information and belief, Defendants and their

co-conspirators will continue to maintain and grow their illegal marketplace unless preliminarily and

permanently enjoined.

       27.      Defendants’ internet-based website business and associated marketplace amount to an

illegal operation established and operated to infringe upon the intellectual property rights of Plaintiffs

and others.

       28.      Defendants’ domain names and any other domain names used in connection with the

sale of counterfeit goods bearing Plaintiffs’ trademarks, including social media accounts, are essential

components of Defendants’ counterfeiting and infringing activities and are the means by which

Defendants further their counterfeiting and infringing scheme and cause harm to Plaintiffs. Moreover,

Defendants are using Lindsey Adelman’s famous name, trademarks and acclaimed lighting designs to

drive internet consumer traffic to their websites operating under the subject domain names.

       29.      Defendant, Liang Tang, and upon information and belief, John Does Nos. 1 - 5, are

citizens of the Peoples Republic of China, and are the conscious, dominant and active force behind the

wrongful acts of Defendants, which wrongful acts have been undertaken for the gain and benefit of

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Defendants including their own individual gain and benefit. These individual Defendants are subject to

the jurisdiction of this Court pursuant to the laws of this State and Rule 4 of the Federal Rules of Civil

Procedure.

        30.      Plaintiff, Lindsey Adelman Studio, LLC, is a limited liability company organized and

existing under the laws of the State of New York, with its principal place of business in New York

County, New York. Plaintiff, Lindsey Adelman Studio, is the exclusive entity through which artist

and designer Lindsey Adelman creates and sells her renowned lighting design and lighting

installations.

        31.      Plaintiff, Lindsey Adelman, is an individual residing in Kings County, New York, and

is otherwise sui juris. Plaintiff, Lindsey Adelman, is a renowned and a highly acclaimed lighting

designer.

                   LINDSEY ADELMAN’S RISE TO DESIGN PROMINENCE

        32.      Plaintiff, Lindsey Adelman, completed her studies in Industrial Design at the Rhode

Island School of Design, and soon after, in 1996, began her focus on interior lighting designs.

        33.      Since 1996, Plaintiff Lindsey Adelman has specialized in lighting design and creating

unique, fixed lighting concepts and installations for indoor use. Plaintiff Lindsey Adelman sold her

first lighting products under the trademark LINDSEY ADELMAN in 1996, and has continuously

designed, sold, marketed and refined LINDSEY ADELMAN-branded lighting products under the

LINDSEY ADELMAN trademark and later under the LINDSEY ADELMAN STUDIO trademark.

        34.      Although unregistered, the LINDSEY ADELMAN mark, through over 20 years of

continuous use, has become famous and synonymous with high quality and uniquely designed lighting

fixtures.




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       35.     The LINDSEY ADELMAN STUDIO trademark was registered in the United States

Patent and Trademark Office on February 20, 2018, Registration No. 5,407,182, and through over 13

years of continuous use, has become famous and synonymous with high quality and uniquely designed

lighting fixtures. Among designers and consumers of high-end interior design, Plaintiffs are known

for the highest quality and artistry in their original modern interior lighting products sold under the

LINDSEY ADELMAN STUDIO and LINDSEY ADELMAN trademarks.

       36.     Lindsey Adelman Studio specializes in utilizing raw materials to produce hand-crafted

sculptural lighting systems. Each piece is hand-crafted and individually-made, and can take several

months to complete. As a result of the work and craftsmanship inherent to Lindsey Adelman products,

most sales are conducted via special appointments.

       37.     The inaugural product launched by Lindsey Adelman Studio in 2006 remains its most

iconic: the Branching Bubble chandelier.

       38.     The BRANCHING BUBBLE trademark was registered in the United States Patent and

Trademark Office on February 5 2019, Registration No.87,716,123.

       39.     The Branching Bubble chandelier and collection have become famous and are instantly

recognizable among the relevant consuming public as being an iconic product of the Lindsey Adelman

Studio. Branching Bubble designs combine the organic nature of blown glass with other linear

components to create a unique sculpted visual of branching narrow cylinders bubbling at end-points

with blown glass lighting elements. Below is an example of the design:




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       40.      This distinct product, sold under the distinctive LINDSEY ADELMAN, LINDSEY

ADELMAN STUDIO and BRANCHING BUBBLES trademarks has become a must-have item

among a distinct high-end segment of the consuming public, which includes style and arts design trend

setters and A-list celebrities. The Branching Bubble chandelier, and other LINDSEY ADELMAN

STUDIO-branded products have been featured in many artistic, design and trade publications.

Branching Bubbles chandeliers have been recognized and displayed in leading art houses and design

museums for their lighting design aesthetic.

       41.      Indeed, a January 2016 issue of WSJ Magazine described Ms. Adelman as having “set

a standard for success that many American designers dream of reaching.” Attached as Composite

Exhibit “A” are copies of the press articles and clippings cited herein regarding Plaintiffs’ lighting

designs and acclaim in the field of lighting and interior design.

       42.      The Branching Bubble design system is not a common lighting design, nor a mere

refinement of a commonly adapted or well-known form of ornamentation for lighting fixtures but an

original creation of Lindsey Adelman. It is unique and unusual in the field of lighting design and is

distinctly associated with Plaintiffs as the originators and sellers of these finely crafted pieces.




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       43.      In the years since Lindsey Adelman Studio first began producing the Branching Bubble

system, the pieces have become, as both W Magazine and Vogue Living described them, a “design

status symbol.” See Composite Exhibit “A” attached hereto.

       44.      Lindsey Adelman Studio has spent countless hours, and resources valued in the

millions of dollars on promotion and advertising prominently featuring the Branching Bubble design,

and other Adelman designs, emphasizing their unique and distinctive appearance.

       45.      The Branching Bubble system has become popular among celebrities and other high-

end consumers, and numerous articles have profiled the development and success of the Branching

Bubble design collection.

       46.      The result of the studio’s efforts is that the public connects the Branching Bubble

chandeliers to the Lindsey Adelman Studio, and to Ms. Adelman personally. This point is underscored

by numerous unsolicited articles lauding Ms. Adelman’s Branching Bubbles system and other design

achievements, a small sample of which is attached at Composite Exhibit “A” hereto.

       47.      As   a   few   examples,      an   entry on       the   website     “The   Future   Perfect”

(www.thefutureperfect.com) describes Ms. Adelman and her work as follows:

                Just over a decade since founding her namesake studio, Lindsey
                Adelman has become one of America’s most influential tastemakers. A
                piece of Lindsey Adelman lighting is instantly recognizable for its pop
                sensibility, shape-shifting forms and ingenious use of raw materials.
                Playful, collaborative, and romantic, key collection pieces range from
                vine-like fringed wall lights to Adelman’s seminal branching blown
                glass “Bubble” chandeliers. A Lindsey Adelman chandelier is one of a
                kind.

       48.      In the May/June 2017 issue of Luxe magazine, it stated the “Bubble” chandeliers “have

become something of an icon….”




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       49.      The August 1, 2017 issue of The Cut magazine stated that “…in demand Adelman is

best known for her sculptural, blown-glass-and-brass Branching Bubble chandeliers, which take up to

24 weeks to complete. As clients will tell you, they’re well worth the wait….”

       50.      The June 15, 2016 issue of W magazine described Lindsey Adelman Studio as follows:

                Since making the first one, about 10 years ago, Lindsey Adelman has
                watched her Branching chandelier, with its handblown glass globes
                budding from a sinewy, multipronged glass stem, become a design
                status symbol - and a fixture in splashy shelter-magazine spreads.

       51.      In the April 13, 2017 issue of The Hollywood Reporter magazine, under the heading

“Ultimate Décor Object of Desire,” one of the entries refers to “Bubble chandelier by Lindsey

Adelman”, stating as follows:

                ‘There’s a real wow factor wherever it’s hung,’ says Trip Haenisch,
                designer for Hank Azaria and WME’s Patrick Whitesell, of Adelman’s
                Branching Bubble lighting series, which possibly is the most celebrity-
                owned fixture in Hollywood. ‘It’s a work of art, romantic and
                transitional, that works equally well in modern and traditional homes.’
                At Adelman’s newly opened Arts District outpost, there’s a 24-week
                production lead time for the pieces, which have been hung by Gwyneth
                Paltrow, Reese Witherspoon, and Jon Hamm ($9,000.00 to
                $30,000.00).

       52.      The May 6, 2017 issue of Vogue described Ms. Adelman’s designs as “The lighting

collection that belongs on your wish list,” and further stated: “Instantly recognizable, each piece from

the famed Lindsey Adelman Studio is an iconic statement of lighting design.” It then highlights,

through photographs, three of “the most desired chandeliers from her latest collection,” one of which

was from the Branching Bubble collection.

       53.      Among other places, Ms. Adelman’s work has been exhibited at the Smithsonian

Design Museum, the Cooper Hewitt National Design Museum, and Design Miami. Further, the

Branching Bubble systems have been sold at BBDW in New York, the Nilufur Gallery in Milan, and

through high-end sellers and showcases in London, Paris, Hong Kong, Toronto, and Vancouver.
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          THE LINDSEY ADELMAN MARKS AND PROTECTED TRADE DRESS

       54.      On February 20, 2018, Lindsey Adelman Studio obtained a trademark registration from

the United States Patent & Trademark Office for the LINDSEY ADELMAN STUDIO trademark,

Reg. No. 5,407,182, a copy of which is attached hereto as Exhibit “B.”

       55.      On February 5, 2019, Lindsey Adelman Studio obtained a trademark registration from

the United States Patent & Trademark Office for the BRANCHING BUBBLE trademark, Reg.

No.87,716,123 a copy of which is attached hereto as Exhibit “C.”

       56.      In addition to those registered marks, Plaintiffs utilize other inherently distinctive

marks and indicators of origin in the sale of Lindsey Adelman designed light fixtures which are

inherently distinctive, and have otherwise acquired secondary meaning among interior designers and

consumers of high end interior design products.

       57.      Plaintiffs’ marks, which are inherently distinctive and have obtained secondary

meaning, include the registered LINDSEY ADELMAN STUDIO and BRANCHING BUBBLE

marks and unregistered marks, such as LINDSEY ADELMAN, and Plaintiffs’ collections AGNES,

CHERRY BOMB, BURST, EDIE, and BRANCHING DISC, among others, and are collectively

referred to as the “Lindsey Adelman marks”.

       58.      Among the Lindsey Adelman marks, the Branching Bubble design and product line,

bearing distinctive features are protected trade dress that indicate source of origin from Plaintiff, and

have acquired secondary meaning, as underscored by the consuming public’s connection of the

Branching Bubble design lighting system to Plaintiffs.

       59.      The Lindsey Adelman marks, including the Branching Bubbles trade dress have come

to be associated with lighting designs containing critically acclaimed artistry and the best-quality

craftsmanship originating from Plaintiffs.       Because of Lindsey Adelman’s accomplishments in

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pushing the boundaries of artistry, the use of space in lighting design, and the recognition achieved by

Lindsey Adelman in her field, LINDSEY ADELMAN-branded products have become status symbols

and “must-have” pieces among the exclusive clientele of high-end interior designers servicing a

unique segment of the consuming public.

         60.      Due to the countless hours and invaluable resources Plaintiffs have devoted to the

creation, promotion, sale, and development of LINDSEY ADELMAN-branded products, substantial

good will has been created and resides within the Lindsey Adelman marks. The goodwill residing in

the Lindsey Adelman marks does not lend itself to easy quantification, but has acquired substantial

value.

         61.      The goodwill residing in the Lindsey Adelman marks has been recognized

internationally as well. On November 21, 2017, Lindsey Adelman Studio was granted a trademark

registration for the LINDSEY ADELMAN STUDIO trademark for lighting fixtures in the 28

cooperating countries of Europe from the European Union Intellectual Property Office. Lindsey

Adelman Studio has also been granted trademark registrations for the LINDSEY ADELMAN

STUDIO trademark in Hong Kong and Japan.

               DEFENDANTS’ COUNTERFEITING, INFRINGEMENT AND PIRACY

         62.      Defendants, under the direction and control of Liang Tang and John Does Nos. 1 - 5,

are engaged in a pattern of counterfeiting, intentional infringement, and trading off of the goodwill

residing in the Lindsey Adelman marks.

         63.      Defendants have built a substantial internet presence with the www.zoralighting.com

website and through social media activities that market and sell counterfeit Lindsey Adelman

products. Through a concerted strategy, Defendants draw customers to their website by utilizing a



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collection of Lindsey Adelman marks, authentic Adelman-product images, pirated famous designs,

and other indicators of origin, including a photograph and biography of Lindsey Adelman herself.

       64.      Upon landing on the home page of Defendants’ www.zoralighting.com website,

authentic images of Plaintiffs’ famous lighting designs are prominently featured for sale under product

tags that mimic authentic Lindsey Adelman marks. Attached hereto as Exhibit “D” is a copy of

Defendants’ homepage (https://www.zoralighting.com/index.php?route=common/home) containing

authentic images of Plaintiffs’ products to drive Defendants’ sale of counterfeits.

       65.      Defendants’ website home page links to dedicated a “Lindsey Adelman” store within

the www.zoralighting.com site, found at https://www.zoralighting.com/Replica-Lindsey-Adelman

(“Defendants’ Lindsey Adelman page”). Prominently featured on Defendants’ Lindsey Adelman

page is an authentic photograph of Lindsey Adelman with brief description of Plaintiffs’ rise and

prominence in the lighting design world. Attached hereto as Exhibit “E” is a copy of Defendants’

Lindsey Adelman page containing an authentic photo of Ms. Adelman.

       66.      The designer-description adjacent to Ms. Adelman’s picture recognizes the iconic

status that Plaintiffs’ lighting designs have achieved, starting with the Branching Bubble chandelier,

and the goodwill residing in the Lindsey Adelman marks, stating that:

                In 2006 when the Lindsey Adelman Studio released their inaugural fixture
                ‐ the Branching Bubble Chandelier ‐ I went gaga. And each new piece is
                breathtaking. Lindsey’s bio cites her inspiration as structural forms and
                nature, and that inspiration is clear in the beautifully delicate balance of
                hand blown glass and machine parts that compose many of her pieces. The
                studio’s work is truly a functional art, and it is drool worthy.

       67.      Defendants intend for consumers purchasing their counterfeit products, and/or

members of the public who view products sold by Zora Lighting to believe those goods are authentic

lighting designs originating from Plaintiffs. Defendants purposefully pass-off its goods as Plaintiffs’


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and suggests a close relationship with Plaintiff throughout its website, social media accounts, and in

bold marketing activities.

       68.      Defendants have gone so far as to make public statements, including through a press

release, outrageously claiming that Zora Lighting sells authentic products from Plaintiffs. Attached

hereto as Exhibit “F”            is a press release that was published on and obtained from

www.digitaljournal.com in which Zora Lighting states that:

                The firm supplies lighting products from the Lindsay Adelman
                studio which is a well-known name since the release of its
                inaugural fixture the Branching Bubble Chandelier, in 2006.
                The products are made of delicate hand-blown glass and
                machine parts and take inspiration from structural forms and
                nature.

       69.      Defendants’ claim to offer “products from Lindsey Adelman studio is part of their

ongoing effort to counterfeit Plaintiffs’ lighting designs and the goodwill residing in the Lindsey

Adelman marks. The press release contains other falsehoods, among them that Zora Lighting is a

U.S. based company and goes so far as to list a U.S. contact, who upon information and belief, is not

affiliated with Zora Lighting.

       70.      Defendants’ display of authentic Adelman designs and photographs together with the

Lindsey Adelman marks is unauthorized and part of their widespread counterfeiting and infringement

of the Lindsey Adelman marks. Defendants are not authorized re-sellers of Plaintiffs’ products, have

no relationship with Plaintiffs, and do not otherwise deal in authentic Lindsey Adelman Studio goods.

       71.      Defendants offer for sale dozens of counterfeit products originating from Plaintiffs

while utilizing authentic images commissioned and published by Lindsey Adelman Studio. Attached

hereto as composite Exhibit “G” are screen shots of many Lindsey Adelman Studio lighting design

counterfeits offered for sale by Defendants on their website.


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       72.      Each of the lighting products contained in Exhibit “G”, in addition to being a blatant

copy of the Lindsey Adelman Studio original, also utilizes the identical names of Lindsey Adelman

collections and product designs in their brazen attempt to steer customers to their cheaper facsimiles.

       73.      Employing the exact names of Lindsey Adelman Studios’ collections and product

names is part of Defendants’ effort to pass off their goods as originating from Plaintiffs, and lead

members of the public to believe their products authentically derive from Plaintiffs.

       74.      Plaintiffs’ protected marks and branded collection names, such as Cherry Bomb,

Branching Bubble, Agnes, Burst, Edie, and Branching Disc are prominently used by Defendants to

suggest that their counterfeit and infringing goods originated from Plaintiffs, or have Plaintiffs’

sponsorship or approval when they do not.

       75.      In selling their infringing goods, Defendants’ www.zoralighting.com website utilizes

authentic photographs and images of products published by Plaintiffs’ while incorporating Plaintiffs’

product and collection names. Attached hereto is composite Exhibit “H” is a top-over-bottom

comparsion of screenshots taken from Defendants’ website and social media posts that use authentic

product photographs commissioned by Lindsey Adelman Studio of Plaintiff’s authentic designs,

juxtaposed against Plaintiffs’ authentic marketing materials showing those identical images. Sample

images from Exhibit “H,” with Defendants’ stolen content above Plaintiffs’ original reflects that no

effort is made to mask Defendants’ theft:




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        76.      Defendants use authentic pictures of Plaintiffs’ lighting designs, together with the

Lindsey Adelman marks in the precise way that Plaintiffs utilize them, as part of their campaign to

pass off Defendants’ products as those of Plaintiffs, and pirate the goodwill residing in the Lindsey

Adelman marks.

        77.      To draw additional customers and traffic to their site and drive sales of goods bearing

counterfeit Lindsey Adelman marks, Defendants engage in widespread marketing activities, including

on the internet.

        78.      To further their infringement and counterfeiting , Defendants utilize protected Lindsey

Adelman marks in the metatags and sponsored internet key-word advertising to optimize their

placement on internet search engines (such as google.com), and to receive prominent top-of-the-page

placement as a “sponsored” seller of goods featuring the Lindsey Adelman marks.

        79.      When Defendants’ pages appear, displayed prominently with and on those links are

images of authentic Lindsey Adelman designs and photographs of same for sale by Defendants at a

fraction of the price consumers pay for authentic Lindsey Adelman lighting designs.

        80.      Defendants are selling the knockoffs at price points significantly lower than the price

Lindsey Adelman Studio charges for the same pieces.

        81.      Defendants’ business model is nothing more than a scheme to usurp and

misappropriate for themselves the goodwill residing in Plaintiffs’ famous and acclaimed lighting

designs. Defendants utilize and incorporate Plaintiff’s protected marks and authentic product images

to promote and sell counterfeit copies of Plaintiffs’ goods at reduced prices. Intentional infringement

of the Lindsey Adelman marks, and resulting consumer confusion caused thereby, is integral to their

illegal business activities.



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       82.      Defendants are, upon information and belief located in China; their products are mass-

manufactured in China, and are of inferior quality to the Lindsey Adelman Studio pieces.

       83.      The sale and marketing of counterfeits and knockoffs by Defendants, which trade upon

and incorporate the Lindsey Adelman marks, are causing substantial damage to the Lindsey Adelman

Studio brand and business. Consumers and members of the public are likely to be confused between

authentic Lindsey Adelman Studio products from Plaintiffs and those offered by Defendants as to

source, origin, sponsorship and affiliation. Defendants intend to create such confusion, and have

profited as a result of their calculated effort to draw a close affiliation between their goods and the

Lindsey Adelman marks.

       84.      Plaintiffs have performed all conditions precedent to bringing this action, or said

conditions have been excused or waived.

       85.      Plaintiffs have engaged undersigned counsel to represent them in this action, and have

agreed to pay counsel a reasonable fee for their services for which Defendants are liable.



       COUNT I - TRADEMARK INFRINGEMENT - LINDSEY ADELMAN STUDIO

             (Trademark Infringement pursuant to 15 U.S.C. §1114 against all Defendants)

       86.      Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

       87.      This claim arises under 15 U.S.C. §1114 for infringement of a trademark registered in

the United States Patent and Trademark Office.

       88.      On February 20, 2018, Lindsey Adelman Studio obtained a trademark registration from

the United States Patent & Trademark Office for the LINDSEY ADELMAN STUDIO trademark,

Reg. No. 5,407,182. See Exhibit “B.”

       89.      The LINDSEY ADELMAN STUDIO trademark is inherently distinct and has come to

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identify, in the United States and throughout the world, high quality lighting designs and products

originating from Plaintiffs.

       90.      The LINDSEY ADELMAN STUDIO trademark has also acquired secondary meaning

among interior designers and consumers of high end interior design products who associate the

registered mark with the high quality products produced, designed, marketed and sold by Plaintiffs.

       91.      Plaintiffs have used the LINDSEY ADELMAN STUDIO trademark in connection

with their high quality lighting and design products since at least 2006.

       92.      Defendants, with full knowledge of the fame and reputation of the LINDSEY

ADELMAN STUDIO trademark, have intentionally, knowingly and willfully infringed upon the

trademark by manufacturing and/or selling products bearing marks confusingly similar to the

LINDSEY ADELMAN STUDIO trademark without consent or permission of Plaintiffs, in order to

deceive purchasers as to the origin and source of its products.

       93.      Defendants have displayed, sold, and advertised (for sale) inferior lighting products

and copies of Lindsey Adelman Studio-designs bearing, or by utilizing, marks confusingly similar to

the LINDSEY ADELMAN STUDIO trademark. These items in fact were not designed, sold, or

distributed by, or pursuant to the authorization of Plaintiffs.

       94.      Defendants’ use of marks which are confusingly similar to the LINDSEY ADELMAN

STUDIO trademark is likely to cause confusion and mistake in the minds of the purchasing public

and, in particular, tends to and does falsely create the impression that the goods sold by Defendants

are authorized, sponsored or approved by Plaintiffs when, in fact, they are not and never have been.

       95.      By reason of Defendants' unauthorized use of marks confusingly similar to the

LINDSEY ADELMAN STUDIO trademark in the course of selling their productsDefendants have

infringed upon Plaintiff's rights in the LINDSEY ADELMAN STUDIO trademark.

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        96.      The goodwill and favorable reputation existing in the LINDSEY ADELMAN STUDIO

trademark is a valuable asset belonging to Plaintiffs. The acts complained of herein have caused

Plaintiffs irreparable harm, and has the potential for inflicting a substantially greater injury to

Plaintiffs' trademark and goodwill.

        97.      Defendants' copies of authentic Lindsey Adelman designs, which have been advertised,

promoted and sold under marks confusingly similar to the LINDSEY ADELMAN STUDIO

trademark were and are manufactured by inferior processes which result in inferior quality products.

By marketing, advertising, and selling Defendants' inferior items under a mark confusingly similar to

the LINDSEY ADELMAN STUDIO trademark, Defendants have damaged Plaintiff's goodwill and

reputation for the sale of high quality products and will continue to damage Plaintiff's reputation unless

enjoined.

        98.      The activities of Defendants complained of herein constitute willful and intentional

infringement of the LINDSEY ADELMAN STUDIO trademark; are in total disregard of Plaintiffs’

rights and were commenced and have continued in spite of Defendants' knowledge that the use of the

LINDSEY ADELMAN STUDIO trademark, or a copy or a colorable imitation thereof, was and is in

direct contravention of Plaintiff's rights.

        99.      Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including diversion of sales from Plaintiffs to

Defendants and a lessening of the goodwill residing in Plaintiffs' LINDSEY ADELMAN STUDIO

trademark. Defendants will, unless preliminarily and permanently restrained and enjoined, continue

to act in the unlawful manner complained of herein, to Plaintiff's irreparable harm. Plaintiff's remedy

at law is not adequate to compensate them for the injuries suffered and threatened.



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           COUNT II - TRADEMARK INFRINGEMENT - BRANCHING BUBBLE

           (Trademark Infringement pursuant to 15 U.S.C. §1114 against all Defendants)

       100.    Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

       101.    This claim arises under 15 U.S.C. §1114 for infringement of a trademark registered in

the United States Patent and Trademark Office.

       102.    On February 5, 2019, Lindsey Adelman Studio obtained a trademark registration from

the United States Patent & Trademark Office for the BRANCHING BUBBLE trademark, Reg. No.

87,716,123. See Exhibit B.

       103.    The BRANCHING BUBBLE trademark is inherently distinct and has come to identify,

in the United States and throughout the world, high quality lighting designs and products originating

from Plaintiffs.

       104.    The BRANCHING BUBBLE trademark has also acquired secondary meaning among

interior designers and consumers of high end interior design products who associate the registered

mark with the high quality products produced, designed, marketed and sold by Plaintiffs.

       105.    Plaintiffs have used the BRANCHING BUBBLE trademark in connection with their

high quality lighting and design products since at least 2006.

       106.    Defendants, with full knowledge of the fame and reputation of the BRANCHING

BUBBLE trademark, have intentionally, knowingly and willfully copied, counterfeited, and infringed

upon the trademark by manufacturing and/or selling products bearing the mark and marks confusingly

similar to the BRANCHING BUBBLE trademark without consent or permission of Plaintiffs, in order

to deceive purchasers as to the origin and source of its products.

       107.    Defendants have displayed, sold, and advertised (for sale) inferior lighting products

and copies of Lindsey Adelman Studio-designs bearing, or by utilizing, marks confusingly similar to

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the BRANCHING BUBBLE trademark. These items in fact were not designed, sold, or distributed

by, or pursuant to the authorization of Plaintiffs.

       108.    Defendants’ use of marks which are inauthentic and confusingly similar to the

BRANCHING BUBBLE trademark is likely to cause confusion and mistake in the minds of the

purchasing public and, in particular, tends to and does falsely create the impression that the goods sold

by Defendants are authorized, sponsored or approved by Plaintiffs when, in fact, they are not and

never have been.

       109.    By reason of Defendants' unauthorized use of marks confusingly similar to the

BRANCHING BUBBLE trademark in the course of selling their productsDefendants have infringed

upon Plaintiff's rights in the BRANCHING BUBBLE trademark.

       110.    The goodwill and favorable reputation existing in the BRANCHING BUBBLE

trademark is a valuable asset belonging to Plaintiffs. The acts complained of herein have caused

Plaintiffs irreparable harm, and has the potential for inflicting a substantially greater injury to

Plaintiffs' trademark and goodwill.

       111.    Defendants' copies of authentic Lindsey Adelman designs, which have been advertised,

promoted and sold under marks that are counterfeit and confusingly similar to the BRANCHING

BUBBLE trademark were and are manufactured by inferior processes which result in inferior quality

products. By marketing, advertising, and selling Defendants' inferior items under counterfeits and or

marks confusingly similar to the BRANCHING BUBBLE trademark, Defendants have damaged

Plaintiff's goodwill and reputation for the sale of high quality products and will continue to damage

Plaintiff's reputation unless enjoined.

       112.    The activities of Defendants complained of herein constitute willful and intentional

infringement of the BRANCHING BUBBLE trademark; are in total disregard of Plaintiffs’ rights and

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were commenced and have continued in spite of Defendants' knowledge that the use of the

BRANCHING BUBBLE trademark, or a copy or a colorable imitation thereof, was and is in direct

contravention of Plaintiff's rights.

        113.    Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including diversion of sales from Plaintiffs to

Defendants and a lessening of the goodwill residing in Plaintiffs' BRANCHING BUBBLE trademark.

Defendants will, unless preliminarily and permanently restrained and enjoined, continue to act in the

unlawful manner complained of herein, to Plaintiff's irreparable harm. Plaintiff's remedy at law is not

adequate to compensate them for the injuries suffered and threatened.



        COUNT III - FALSE DESIGNATION OF ORIGIN (“LINDSEY ADELMAN”)

                        (Pursuant to 15 U.S.C. §1125(a) against all Defendants)

        114.    Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

        115.    This claim arises under 15 U.S.C. §1125(a) for false designation of origin

(infringement of an unregistered trademark).

        116.    Plaintiff, Lindsey Adelman has used the unregistered LINDSEY ADELMAN

trademark in connection with Plaintiffs’ high quality lighting and design products since at least 1996.

        117.    The LINDSEY ADELMAN trademark is inherently distinct and has come to identify,

in the United States and throughout the world, high quality lighting designs and products originating

from Plaintiffs.

        118.    The LINDSEY ADELMAN trademark has also acquired secondary meaning among

interior designers and consumers of high end interior design products, who associate the LINDSEY

ADELMAN mark with the high quality products produced, designed, marketed and sold by Plaintiffs.

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        119.    Defendants, with full knowledge of the fame and reputation of the LINDSEY

ADELMAN trademark, have intentionally, knowingly and willfully infringed upon the trademark by

manufacturing and/or selling products bearing marks confusingly similar to the LINDSEY

ADELMAN trademark without consent or permission of Plaintiffs, in order to deceive purchasers as

to the origin and source of its products.

        120.    Defendants have displayed, sold, and advertised (for sale) inferior lighting products

and copies of Lindsey Adelman-designs bearing, or by utilizing, marks confusingly similar to the

LINDSEY ADELMAN trademark. These items in fact were not designed, sold, or distributed by, or

pursuant to the authorization of Plaintiffs.

        121.    Defendants’ use of marks which are confusingly similar to the LINDSEY ADELMAN

trademark is likely to cause confusion and mistake in the minds of the purchasing public and, in

particular, tends to and does falsely create the impression that the goods sold by Defendants are

authorized, sponsored or approved by Plaintiffs when, in fact, they are not and never have been.

        122.    By reason of Defendants' use of marks confusingly similar to the LINDSEY

ADELMAN trademark, in the course of selling their products, without obtaining the authorization of

Plaintiffs, Defendants have infringed upon Plaintiff's rights in the LINDSEY ADELMAN trademark.

        123.    The goodwill and favorable reputation existing in the LINDSEY ADELMAN

trademark is a valuable asset belonging to Plaintiffs. The acts complained of herein have caused

Plaintiffs harm, and has the potential for inflicting a substantially greater injury to Plaintiffs' trademark

and goodwill.

        124.    Defendants' copies of authentic Lindsey Adelman designs, which have been advertised,

promoted and sold under marks confusingly similar to the LINDSEY ADELMAN trademark were

and are manufactured by inferior processes which result in inferior quality products. By marketing,

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advertising, and selling Defendants' inferior items under a mark confusingly similar to the LINDSEY

ADELMAN trademark, Defendants have damaged Plaintiff's goodwill and reputation for the sale of

high quality products and will continue to damage Plaintiff's reputation unless enjoined.

        125.     The activities of Defendants complained of herein constitute willful and intentional

infringement of the LINDSEY ADELMAN trademark; are in total disregard of Plaintiffs’ rights and

were commenced and have continued in spite of Defendants' knowledge that the use of the LINDSEY

ADELMAN trademark, or a copy or a colorable imitation thereof, was and is in direct contravention

of Plaintiff's rights.

        126.     Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including diversion of sales from Plaintiffs to

Defendants and a lessening of the goodwill residing in Plaintiffs' LINDSEY ADELMAN trademark.

Defendants will, unless preliminarily and permanently restrained and enjoined, continue to act in the

unlawful manner complained of herein, to Plaintiff's irreparable harm. Plaintiff's remedy at law is not

adequate to compensate them for the injuries suffered and threatened.



   COUNT IV - FALSE DESIGNATION OF ORIGIN (“LINDSEY ADELMAN MARKS”)

                         (Pursuant to 15 U.S.C. §1125(a) against all Defendants)

        127.     Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

        128.     This claim arises under 15 U.S.C. §1125(a) for false designation of origin

(infringement of an unregistered trademark).

        129.     Plaintiffs have used unregistered LINDSEY ADELMAN marks, specifically lighting

design collecton names: AGNES, CHERRY BOMB, BURST, EDIE, and BRANCHING DISC that

are closely associated in connection with Plaintiffs’ high quality lighting and design products since at

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least 2006.

        130.     The LINDSEY ADELMAN marks are inherently distinct and have come to identify,

in the United States and throughout the world, high quality lighting designs and products originating

from Plaintiffs.

        131.     The LINDSEY ADELMAN marks have also acquired secondary meaning among

interior designers and consumers of high end interior design products, who associate the LINDSEY

ADELMAN marks with the high quality products produced, designed, marketed and sold by

Plaintiffs.

        132.     Defendants, with full knowledge of the fame and reputation of the LINDSEY

ADELMAN marks, have intentionally, knowingly and willfully infringed upon the marks by

manufacturing and/or selling products bearing marks identical names and likenesses without consent

or permission of Plaintiffs, in order to deceive purchasers as to the origin and source of its products.

        133.     Defendants have displayed, sold, and advertised (for sale) inferior lighting products

and copies of Lindsey Adelman-designs bearing, or by utilizing, counterfeit LINDSEY ADELMAN

marks. These items in fact were not designed, sold, or distributed by, or pursuant to the authorization

of Plaintiffs.

        134.     Defendants’ use of marks which are identical and confusingly similar to the LINDSEY

ADELMAN marks is likely to cause confusion and mistake in the minds of the purchasing public and,

in particular, tends to and does falsely create the impression that the goods sold by Defendants are

authorized, sponsored or approved by Plaintiffs when, in fact, they are not and never have been.

        135.     By reason of Defendants' use of marks confusingly similar to the LINDSEY

ADELMAN marks, in the course of selling their products, without obtaining the authorization of

Plaintiffs, Defendants have infringed upon Plaintiff's rights in the LINDSEY ADELMAN marks.

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       136.    The goodwill and favorable reputation existing in the LINDSEY ADELMAN marks is

a valuable asset belonging to Plaintiffs. The acts complained of herein have caused Plaintiffs harm,

and has the potential for inflicting a substantially greater injury to Plaintiffs' trademark and goodwill.

       137.    Defendants' copies of authentic Lindsey Adelman designs, which have been advertised,

promoted and sold under marks identical and confusingly similar to the LINDSEY ADELMAN marks

were and are manufactured by inferior processes which result in inferior quality products. By

marketing, advertising, and selling Defendants' inferior items under a mark confusingly similar to the

LINDSEY ADELMAN marks, Defendants have damaged Plaintiff's goodwill and reputation for the

sale of high quality products and will continue to damage Plaintiff's reputation unless enjoined.

The activities of Defendants complained of herein constitute willful and intentional infringement of

the LINDSEY ADELMAN marks; are in total disregard of Plaintiffs’ rights and were commenced

and have continued in spite of Defendants' knowledge that the use of the LINDSEY ADELMAN

marks was and is in direct contravention of Plaintiff's rights

       138.    Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including diversion of sales from Plaintiffs to

Defendants and a lessening of the goodwill residing in Plaintiffs' LINDSEY ADELMAN marks.

Defendants will, unless preliminarily and permanently restrained and enjoined, continue to act in the

unlawful manner complained of herein, to Plaintiff's irreparable harm. Plaintiff's remedy at law is not

adequate to compensate them for the injuries suffered and threatened.

                         COUNT V - TRADE DRESS INFRINGEMENT

                       (Pursuant to 15 U.S.C. §1125(a) against all Defendants)

       139.    Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 86.

       140.    This claim arises under 15 U.S.C. §1125(a) for trade dress infringement.

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       141.    The Lindsey Adelman Studio Branching Bubble lighting design system is inherently

distinct and has come to identify, in the United States and throughout the world, a specifically designed

high quality lighting product originating from Plaintiffs.

       142.    The Branching Bubble product line has acquired secondary meaning within the market,

including but not limited to interior designers and consumers of high end interior design products,

who associate the Branching Bubble design and products with the high quality products produced,

designed, marketed and sold by Plaintiffs.

       143.    The Branching Bubble line employs distinctive non-functional features that indicate

source of origin and are the protectable property rights of Plaintiffs.

       144.    Distinctive non-functional elements constituting Plaintiff’s protected Branching

Bubble trade dress include: a system of hand-sculpted brass or metallic cylinders connecting to other

linear cylinders that evoke limbs of a tree with branches composed of clean geometric lines forming

a series of angles that reach multiple end-points, at which an enclosed glass globe light is affixed,

creating a bubble of light at various ends of the “branch” system.

       145.    The combination of the metal stem, the “branching” arms diverging in angles off the

metal stem, and the globe lights affixed to each “branch” is inherently distinctive and has achieved

secondary meaning with the consuming public, which recognizes the Branching Bubble design as

originating from Plaintiffs.

       146.    Since introduction of the Branching Bubble design in 2006, Plaintiffs have spent

considerable resources, including funds and substantial time and labor costs on: print and internet

advertising prominently featuring pictures of Branching Bubble designs that emphasize its unique and

distinctive appearance, together with personal designer appearances at design shows, museums and



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trade events to support and promote the Branching Bubble lighting system. The result is world-wide

fame and recognition of the Branching Bubble line that is associated with Plaintiffs.

          147.   Plaintiffs have been utilizing the Branching Bubble design since 2006, and have been

advertising the design for that same period of time, with the intent of promoting the connection by the

public between the plaintiffs and the Branching Bubble product line. Plaintiffs’ use of the Branching

Bubble design predates any use by Defendants of the same or similar design.

          148.   Plaintiffs have exhibited the Branching Bubble design at the Smithsonian Design

Museum, the Cooper Hewitt National Design Museum, and Design Miami. Further, the Branching

Bubble lighting products have been sold at BBDW in New York, and at Nilufur Gallery in Milan,

which promotes Plaintiffs’ work globally. Plaintiffs have further displayed the Branching Bubble

chandeliers at trade shows, and in internet listings on major internet search engines. The Branching

Bubble design has received a number of awards and other forms of public recognition. Thus, the

advertising undertaken by the Plaintiffs has conferred secondary meaning on the Branching Bubble

design.

          149.   A substantial portion of Lindsey Adelman Studio’s revenue is attributable to the

Branching Bubble collection.

          150.   In flagrant disregard of Plaintiffs’ rights, Defendants are intentionally, knowingly and

willfully infringing the Plaintiffs’ protected Branching Bubble trade dress by manufacturing,

displaying, advertising and selling, through its retail stores and over the internet, products bearing a

design so nearly identical to the Branching Bubble design that they are likely to cause confusion in

the mind of the consuming public.

          151.   Defendants offer for sale copies of the Branching Bubble chandeliers and lighting

designs that are mass-produced, at substantially reduced prices.

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         152.   The overall impression created by Defendants’ knockoffs and the Plaintiffs’ original

products is that they are substantially similar to one another. Each employs a metal stem with

branching metal arms and affixes glass globes to each of the metal “branches.” The basic outlines

and design silhouettes of the products are substantially similar. And Defendants have employed

similar colors creating an overall impression and feel that evokes and trades off of the Branching

Bubble designs sold by Plaintiffs.

         153.   Indeed, Defendants, through their own advertising descriptions, attempt to heighten the

association between their inferior products and Plaintiff’s authentic goods by using the identical

Branching Bubble collection and design names and other exact copies of the Lindsey Adelman marks.

         154.   The parties’ products are sold in the same geographic areas and in fact all over the

world.

         155.   The parties’ products are targeted at the same groups of consumers. However,

Defendants also cater to customers who might otherwise aspire to own authentic Branching Bubble

products, but are unable or unwilling to pay for the genuine product, so instead acquire Defendants’

cheaper copies.

         156.   Defendants and Plaintiffs are in direct competition with one another.

         157.   The use by Defendants of the Lindsey Adelman marks in tagging various web pages,

along with the use of the words “branch” and “bubble” in their product descriptions, indicates bad

faith in marketing their products.

         158.   While Branching Bubble products are, in general, purchased by more sophisticated

consumers, those same consumers, when viewing Defendants’ products, are likely to assume that the

presence of authentic Branching Bubble images and designs in Defendants’ products indicates

association or sponsorship between the two.

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       159.    Defendants have used designs and words likely to cause confusion, mistake, or

deception as to the affiliation, connection, or association of Defendants and Plaintiffs, or as to the

origin, sponsorship, or approval of Defendants’ goods by Plaintiffs. Prospective purchasers are likely

to believe Plaintiffs sponsored or otherwise approved of Defendants’ use of the Branching Bubble

design, when, in reality, Plaintiffs have never sponsored or approved the Defendants’ use. Further,

prospective purchasers are attracted to Defendants’ designs by virtue of their piracy of authentic

Branching Bubble images and designs. Further, even if those same purchasers are not actually

confused at the time of purchase, they intend others to believe that such products did in fact originate

from Plaintiff. Other consumers are also likely to be confused as to the source of Defendants’ designs

when observed in a post-sale context.

       160.    The goodwill and favorable reputation existing in the Branching Bubble design is a

valuable asset belonging solely and exclusively to the plaintiffs. The acts complained of herein have

caused harm to Plaintiffs, and if not preliminarily and permanently enjoined, will continue to harm

Plaintiffs’ intellectual property and goodwill.

       161.    Defendants’ activities constitute willful and intentional infringement of the Plaintiffs’

trade dress, are in total disregard of Plaintiffs’ rights, were commenced and have continued in spite of

Defendants’ knowledge that the use of Plaintiffs’ trade dress, or a copy or colorable imitation thereof,

was and is in direct contravention of Plaintiffs’ rights.

       162.    Plaintiffs have suffered and continue to suffer irreparable harm as a result of

Defendants’ actions, including but not limited to diversion of sales from Lindsey Adelman Studio to

Defendants and a lessening of the goodwill residing in Plaintiffs’ Branching Bubble designed lighting

system.



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       163.    Plaintiffs’ remedy at law is not adequate to compensate them for the injuries suffered

and threatened.

       164.    As a direct and proximate result of Defendants’ actions, Plaintiffs have sustained

damages in an amount to be determined at trial.

        COUNT VI – TRADEMARK DILUTION (“LINDSEY ADELMAN STUDIO”)

                       (Pursuant to 15 U.S.C. §1125(c) against all Defendants)

       165.    Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

       166.    This claim arises under 15 U.S.C. §1125(c) for trademark dilution of Plaintiffs’

registered LINDSEY ADELMAN STUDIO mark.

       167.    The LINDSEY ADELMAN STUDIO registered trademark is inherently distinct and

has come to identify, in the United States and throughout the world, high quality lighting designs and

products originating from Plaintiffs.

       168.    The LINDSEY ADELMAN STUDIO trademark has also acquired secondary meaning

among interior designers and consumers of high end interior design products who associate the

registered mark with the high quality products produced, designed, marketed and sold by Plaintiffs.

       169.    The LINDSEY ADELMAN STUDIO trademark is famous, as further evinced by:

widespread marketing and advertising under the mark; unsolicited media attention garnered by the

mark; accolades and acclaim bestowed upon Plaintiffs’ lighting design products; exhibitions of

Lindsey Adelman Studio designs in museums and art houses; and taste-making customers who have

trumpeted the qualities and virtues of the products sold under the mark.

       170.    Plaintiffs commenced use of the famous LINDSEY ADELMAN STUDIO trademark

in or before 2006.

       171.    After Plaintiffs established the mark as famous, Defendants, with full knowledge of

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the fame and reputation of the LINDSEY ADELMAN STUDIO trademark, have intentionally, diluted

and infringed upon the trademark by manufacturing and/or selling products bearing marks identical

to, and confusingly similar with the LINDSEY ADELMAN STUDIO trademark without consent or

permission of Plaintiffs.

        172.    As a result of Defendants’ conduct described herein, the distinctive quality of the

LINDSEY ADELMAN STUDIO trademark is being diluted.

        173.    Defendants' have damaged, and are continuing to damage, Plaintiff's goodwill and

reputation for the sale of high quality products and will continue doing so unless enjoined.

        174.    The activities of Defendants complained of herein constitute willful and intentional

dilution of the LINDSEY ADELMAN STUDIO trademark, are in total disregard of Plaintiffs’ rights,

and were commenced and have continued in spite of Defendants' knowledge that the use of the

LINDSEY ADELMAN STUDIO trademark, or a copy or a colorable imitation thereof, was and is in

direct contravention of Plaintiff's rights.

        175.    Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including false association between Plaintiffs’ goods

and Defendants’ and a lessening of the goodwill residing in Plaintiffs' LINDSEY ADELMAN

STUDIO trademark. Defendants will, unless preliminarily and permanently restrained and enjoined,

continue to act in the unlawful manner complained of herein, to Plaintiff's irreparable harm. Plaintiff's

remedy at law is not adequate to compensate them for the injuries suffered and threatened.

               COUNT VII – TRADEMARK DILUTION (“LINDSEY ADELMAN”)

                        (Pursuant to 15 U.S.C. §1125(c) against all Defendants)

        176.    Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

        177.    This claim arises under 15 U.S.C. §1125(c) for trademark dilution of Plaintiffs’

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unregistered LINDSEY ADELMAN mark.

        178.     The LINDSEY ADELMAN trademark is inherently distinct and has come to identify,

in the United States and throughout the world, high quality lighting designs and products originating

from Plaintiffs.

        179.     The LINDSEY ADELMAN trademark has also acquired secondary meaning among

interior designers and consumers of high end interior design products who associate the mark with the

high quality products produced, designed, marketed and sold by Plaintiffs.

        180.     The LINDSEY ADELMAN trademark is famous, as further evinced by: widespread

marketing and advertising under the mark; unsolicited media attention garnered by the mark;

accolades and acclaim bestowed upon Plaintiffs lighting design products; exhibitions of Lindsey

Adelman designs in museums and art houses; and taste-making customers who have trumpeted the

qualities and virtues of the products sold under the mark.

        181.     Plaintiffs commenced use of the famous LINDSEY ADELMAN trademark in or before

2006.

        182.     After Plaintiffs established the mark as famous, Defendants, with full knowledge of

the fame and reputation of the LINDSEY ADELMAN trademark, have intentionally, diluted and

infringed upon the mark by manufacturing and/or selling products bearing marks identical to, and

confusingly similar with, the LINDSEY ADELMAN mark without consent or permission of

Plaintiffs.

        183.     As a result of Defendants’ conduct described herein, the distinctive quality of the

LINDSEY ADELMAN mark is being diluted.

        184.     Defendants' have damaged, and are continuing to damage, Plaintiff's goodwill and

reputation for the sale of high quality products and will continue doing so unless enjoined.

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        185.     The activities of Defendants complained of herein constitute willful and intentional

dilution of the LINDSEY ADELMAN trademark; are in total disregard of Plaintiffs’ rights and were

commenced and have continued in spite of Defendants' knowledge that the use of the LINDSEY

ADELMAN trademark, or a copy or a colorable imitation thereof, was and is in direct contravention

of Plaintiff's rights.

        186.     Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including false association between Plaintiffs’ goods

and Defendants’ and a lessening of the goodwill residing in Plaintiffs' LINDSEY ADELMAN

trademark. Defendants will, unless preliminarily and permanently restrained and enjoined, continue

to act in the unlawful manner complained of herein, to Plaintiff's irreparable harm. Plaintiff's remedy

at law is not adequate to compensate them for the injuries suffered and threatened.

             COUNT VIII – TRADEMARK DILUTION (“BRANCHING BUBBLE”)

                         (Pursuant to 15 U.S.C. §1125(c) against all Defendants)

        187.     Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

        188.     This claim arises under 15 U.S.C. §1125(c) for trademark dilution of Plaintiffs’

registered BRANCHING BUBBLE mark.

        189.     The BRANCHING BUBBLE trademark is inherently distinct and has come to identify,

in the United States and throughout the world, high quality lighting designs and products originating

from Plaintiffs.

        190.     The BRANCHING BUBBLE trademark has also acquired secondary meaning among

interior designers and consumers of high end interior design products who associate the mark with the

high quality products produced, designed, marketed and sold by Plaintiffs.

        191.     The BRANCHING BUBBLE trademark is famous, as further evinced by: widespread

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marketing and advertising under the mark; unsolicited media attention garnered by the mark;

accolades and acclaim bestowed upon Plaintiffs lighting design products; exhibitions of Lindsey

Adelman designs in museums and art houses; and taste-making customers who have trumpeted the

qualities and virtues of the products sold under the mark.

        192.     Plaintiffs commenced use of the famous BRANCHING BUBBLE trademark in or

before 2006.

        193.     After Plaintiffs established the mark as famous, Defendants, with full knowledge of

the fame and reputation of the BRANCHING BUBBLE trademark, have intentionally, diluted and

infringed upon the mark by manufacturing and/or selling products bearing marks identical to, and

confusingly similar with, the BRANCHING BUBBLE mark without consent or permission of

Plaintiffs.

        194.     As a result of Defendants’ conduct described herein, the distinctive quality of the

BRANCHING BUBBLE mark is being diluted.

        195.     Defendants' have damaged, and are continuing to damage, Plaintiff's goodwill and

reputation for the sale of high quality products and will continue doing so unless enjoined.

        196.     The activities of Defendants complained of herein constitute willful and intentional

dilution of the BRANCHING BUBBLE trademark; are in total disregard of Plaintiffs’ rights and were

commenced and have continued in spite of Defendants' knowledge that the use of the BRANCHING

BUBBLE trademark, or a copy or a colorable imitation thereof, was and is in direct contravention of

Plaintiff's rights.

        197.     Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including false association between Plaintiffs’ goods

and Defendants’ and a lessening of the goodwill residing in Plaintiffs' BRANCHING BUBBLE

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trademark. Defendants will, unless preliminarily and permanently restrained and enjoined, continue

to act in the unlawful manner complained of herein, to Plaintiff's irreparable harm. Plaintiff's remedy

at law is not adequate to compensate them for the injuries suffered and threatened.

              COUNT IX – TRADE DRESS DILUTION (“BRANCHING BUBBLE”)

                       (Pursuant to 15 U.S.C. §1125(C) against all Defendants)

       198.    Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

       199.    This claim arises under 15 U.S.C. §1125(c) for trademark dilution of Plaintiffs’

unregistered Branching Bubble product trade dress.

       200.    The BRANCHING BUBBLE trade dress is inherently distinct and has come to

identify, in the United States and throughout the world, high quality lighting designs and products

originating from Plaintiffs.

       201.    The BRANCHING BUBBLE trade dress has also acquired secondary meaning among

interior designers and consumers of high end interior design products who associate the trade dress

with the high quality products produced, designed, marketed and sold by Plaintiffs.

       202.    The BRANCHING BUBBLE trade dress is famous, as further evinced by: widespread

marketing and advertising depicting the product’s protected trade dress; unsolicited media attention

garnered by the BRANCHING BUBBLE line; accolades and acclaim bestowed upon Plaintiffs’

BRANCHING BUBBLE products; exhibitions of BRANCHING BUBBLE designs in museums and

art houses; and taste-making customers who have trumpeted the qualities and virtues of the

BRANCHING BUBBLE products sold by Plaintiffs.

       203.    Plaintiffs commenced use of the famous BRANCHING BUBBLE product(s) and

associated dress in or before 2006.

       204.    After Plaintiffs established the trade dress as famous, Defendants, with full knowledge

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of the fame and reputation of the BRANCHING BUBBLE trade dress, have intentionally, diluted and

infringed upon the trade dress by manufacturing and/or selling products bearing marks confusingly

similar to the BRANCHING BUBBLE products without consent or permission of Plaintiffs.

        205.     As a result of Defendants’ conduct described herein, the distinctive quality of the

BRANCHING BUBBLE trade dress is being diluted.

        206.     Defendants' have damaged, and are continuing to damage, Plaintiff's goodwill and

reputation for the sale of high quality products and will continue doing so unless enjoined.

        207.     The activities of Defendants complained of herein constitute willful and intentional

dilution of the BRANCHING BUBBLE trade dress; are in total disregard of Plaintiffs’ rights and were

commenced and have continued in spite of Defendants' knowledge that the use of the BRANCHING

BUBBLE trade dress, or a copy or a colorable imitation thereof, was and is in direct contravention of

Plaintiff's rights.

        208.     Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including false association between Plaintiffs’ goods

and Defendants’ and a lessening of the goodwill residing in Plaintiffs' BRANCHING BUBBLE trade

dress. Defendants will, unless preliminarily and permanently restrained and enjoined, continue to act

in the unlawful manner complained of herein, to Plaintiff's irreparable harm. Plaintiff's remedy at law

is not adequate to compensate them for the injuries suffered and threatened.

                      COUNT X – COMMON LAW UNFAIR COMPETITION

                                          (Against all Defendants)

        209.     Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.

        210.     Through the above described conduct, Defendants have misappropriated the labors and

expenditures of Plaintiffs in bad faith for the purpose of misleading the public and exploiting Plaintiffs

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work for their own improper commercial benefit and gain.

       211.    Defendants are passing off inferior lighting design copies as Plaintiffs. Defendants’

utilize the Lindsey Adelman marks in the marketing, sale and promotion of their offerings,

intentionally misleading the public as to source and authenticity of their products. In so doing,

Defendants pass off products as authentic Lindsey Adelman designs when in fact they are not.

       212.    The consuming public is likely to be confused as to the source and origin of the goods

offered for sale by Defendants, who utilize, rely upon, and copy the Lindsey Adelman marks in the

sale and promotion of their goods. Upon information and belief, actual confusion has occurred as a

result of Defendants’ bad faith conduct.

       213.    The activities of Defendants complained of herein constitute unfair competition; are in

total disregard of Plaintiffs’ rights and were commenced and have continued in spite of Defendants'

knowledge that their conduct was in bad faith and in direct contravention of Plaintiffs’ rights.

       214.    Plaintiffs have suffered (and continue to suffer) irreparable harm and damages as a

result of Defendants' above-described activities, including false association between the parties and a

lessening of the goodwill residing in Plaintiffs' Lindsey Adelman marks. Defendants will, unless

preliminarily and permanently restrained and enjoined, continue to act in the unlawful manner

complained of herein, to Plaintiff's irreparable harm. Plaintiff's remedy at law is not adequate to

compensate them for the injuries suffered and threatened.



                            COUNT XI – NY STATUTORY CLAIMS

                                        (Against all Defendants)

       215.    Plaintiffs repeat and re-allege every allegation contained in paragraphs 1 through 85.




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       216.       Plaintiff, Lindsey Adelman bnrings this is an action for violation of the New York Civil

Rights Law, sections 50 and 51, against all Defenants.

       217.       In the course of conducting advertising for the sale of their products, Defendants have

used the Adelamn’s name and likeness without her consent within the State of New York and all over

the world.

       218.       As a direct and proximate result of Defendants’ actions, Plaintiff Lindsey Adelman has

sustained damages in an amount to be determined at trial.



                                                  DEMAND

       WHEREFORE, Plaintiffs, Lindsey Adelman Studio, LLC and Lindsey Adelman demand

entry of Final Judgment against Defendants ZORA Lighting Co., Ltd., Liang Tang, and John Does

Nos. 1 – 5 for:

       A.         Preliminary and permanent injunctive relief enjoining Defendants, their agents,

employees, servants, privies, successors, and assigns, and all persons acting in concert, participation or

combination with the Defendants, from:

       manufacturing or causing to be manufactured, importing, advertising or promoting, distributing,

       selling or offering to sell their infringing or counterfeit goods; from infringing, counterfeiting, or

       diluting the Lindsey Adelman marks; from using the Lindsey Adelman marks, or any mark or

       trade dress similar thereto, in connection with the sale of any unauthorized goods; from using any

       logo, trade name or trademark or trade dress which may be calculated to falsely advertise the

       services or products of Defendants as being sponsored by, authorized by, endorsed by, or in any

       way associated with Plaintiffs; from falsely representing themselves as being connected with

       Plaintiffs, through sponsorship or association, or engaging in any act which is likely to falsely

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       cause members of the trade and/or of the purchasing public to believe any goods or services of

       Defendants are in any way endorsed by, approved by, and/or associated with Plaintiffs; from

       using any reproduction, counterfeit, copy, or colorable imitation of the Lindsey Adelman marks

       in connection with the publicity, promotion, sale, or advertising of any goods sold by Defendants;

       from affixing, applying, annexing or using in connection with the sale of any goods, a false

       description or representation, including words or other symbols tending to falsely describe or

       represent Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs and

       from offering such goods in commerce; from engaging in search engine optimization strategies

       using colorable imitations of the Plaintiffs’ names or the Lindsey Adelman marks; and from

       otherwise unfairly competing with Lindsey Adelman marks.

       B.      Entry of a preliminary and permanent injunction pursuant to 28 U.S.C §1651(a), The All

Writs Act, enjoining Defendants and all third parties from creating, maintaining, operating, joining,

participating in, including providing financial, technical or other support to, the world wide web based

illegal marketplace, conspiracy to market, offer for sale, sell or distribute non-genuine goods bearing

counterfeits of the Lindsey Adelman marks.

       C.      Entry of an order requiring the Defendants’ internet domain names, and any other domain

names being used by Defendants to engage in the business of marketing, offering to sell and/or selling

goods bearing counterfeits and infringements of the Lindsey Adelman marks to be disabled and/or

immediately transferred by Defendants, their Registrars and/or the Registries to Plaintiff’s control.

       D.      Entry of an Order that, upon Plaintiffs’ request, the top level domain (TLD) Registry for

each of Defendants’ domain name or their administrators place the subject domain names on Registry

Hold status for the remainder of the registration period for any such domain name, thus removing them



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from the TLD zone files maintained by the Registries that links the domain name(s) to the IP address

where the associated websites are hosted.

        E.      Entry of an Order that, upon Plaintiffs’ request, any Internet search engines, web hosts,

domain-name registrars and domain-name registries or administrators which are provided with notice of

the injunction, cease facilitating access to any or all websites through which Defendants engage in the

promotion, offering for sale and/or sale goods bearing counterfeits and/or infringements of the Lindsey

Adelman marks.

        F.      Entry of an Order that, upon Plaintiffs’ request, the Internet Corporation for Assigned

Names and Numbers (“ICANN”) shall take all actions necessary to ensure that the top level domain

registries or their administrators responsible for the subject domain names facilitate the transfer, and/or

disable the subject domain names.

        G.      Ordering Defendants to account for all inventory, goods and materials which contain,

depict, utilize or derive from the Lindsey Adelman marks, and at Defendants’ sole cost and expense,

permanently destroy such infringing and diluting goods so that such goods are not sold or transferred or

otherwise enter the stream of commerce;

        H.      An award of damages in a sum to be determined at trial accounting for all losses by

Plaintiffs, and/or all gains, profits and advantages derived by Defendants through the sale, advertisement,

and promotion of products that use, incorporate, infringe or dilute the Lindsey Adelman marks, or any

marks or designs similar thereto;

        I.      On submission of evidence supporting same, treble damages, punitive damages,

reasonable attorneys’ fees, costs and disbursements incurred by Plaintiffs in the prosecution of this action;

and

        J.      Such other relief as this Court deems just and proper.

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DATED:May 22, 2019.

                                                              Respectfully submitted,

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